     Case 1:11-cr-00449-DAD-BAM Document 172 Filed 10/01/15 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     Case No.: 1:11-cr-00449-AWI-BAM-1
12                   Plaintiff,                    ORDER RE PRO SE
              v.                                   SENTENCE REDUCTION MOTION
13                                                 (Doc. 171)
14   DESIDORO SANCHEZ SOLORZANO,

15                   Defendant.

16
              Defendant has filed a pro se motion to reduce sentence pursuant to Title 18, United States
17
     Code, Section 3582(c)(2) (“Section 3582 Motion”). Pursuant to Eastern District of California
18
     General Order 546, the Federal Defender’s Office (“FDO”) is hereby appointed to represent
19
     Defendant in this matter. The FDO shall have 90 days from the filing date of this Order to file a
20
     supplement to Defendant’s pro se Section 3582 Motion or to notify the Court that it does not
21
     intend to file a supplement to the motion. Thereafter, the government shall have 30 days from the
22
     date of the FDO’s filing to file a response to Defendant’s Section 3582 Motion.
23

24   IT IS SO ORDERED.

25   Dated:    October 1, 2015
                                                  SENIOR DISTRICT JUDGE
26

27

28
